                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

LAVONYA N. ROBERSON,

Plaintiff,

v.                                                                     Case No. 1:22-cv-00306-DII
THE CBE GROUP,
INC.


Defendant.
______________________________________

      AMENDED MOTION TO WITHDRAW AS TO ALL PLAINTIFF’S COUNSEL

       NOW COMES Counsel for Plaintiff LAVONYA N. ROBERSON (“Plaintiff’ counsel”),

hereby moving this Honorable Court to withdraw as counsel for LAVONYA N. ROBERSON

(“Plaintiff”), and in support thereof, stating as follows:

        1.      On March 31, 2022, Plaintiff filed the instant action against Defendants seeking

redress for violations of the Fair Debt Collection Practices Act (“FDCPA”) pursuant to 15 U.S.C.

§1692, violations of the Texas Debt Collection Act (“TDCA”), Tex. Fin. Code Ann. § 392 et seq.,

and violations of Regulation F, 12 CFR 1006 et seq. [Dkt. 1]

        2.      Plaintiff’s Counsel have made numerous unsuccessful attempts to contact Plaintiff

through phone calls and certified written correspondences.

        3.      Despite Plaintiff’s Counsel numerous attempts to contact Plaintiff, Plaintiff has

been unresponsive.

        4.      To date, Plaintiff has not contacted Plaintiff’s Counsel.

        5.      Plaintiff’s Counsel cannot effectively represent Plaintiff without Plaintiff’s active

participation in this case.


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       6.      For the foregoing reasons, Plaintiff’s Counsel submits that there is good cause for

the Court to permit Plaintiff’s Counsel to withdraw as counsel for Plaintiff.

       7.      In the event the Court would like to contact Plaintiff, Plaintiff’s last known address

is 6409 SPRINGDALE RD APT 116 AUSTIN, TX 78723. Furthermore, Plaintiff’s last known

phone number is (512) 770-7183.

       WHEREFORE, Plaintiff’s Counsel respectfully request that this Court enter an Order

granting the Motion to Withdraw as counsel for Plaintiff LAVONYA N. ROBERSON, and for

any other such relief the Court deems just and appropriate.




       Dated: October 24, 2023                                Respectfully submitted,

                                                              /s/ Marwan R. Daher
                                                              /s/ Omar T. Sulaiman
                                                              /s/ Mohammed O. Badwan
                                                              /s/ Nayeem N. Mohammed
                                                              Marwan R. Daher, Esq.
                                                              Omar T. Sulaiman, Esq.
                                                              Mohammed O. Badwan, Esq.
                                                              Nayeem N. Mohammed, Esq.
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                                 CERTIFICATE OF SERVICE

          I, Marwan R. Daher, certify that on October 24, 2023, the foregoing document was filed

electronically using the Court’s CM/ECF system, which will accomplish service on all counsel of

record.


                                                     /s/ Marwan R. Daher




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